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                                             specify NOTICE OF MOTION AND MOTION FOR
RELIEF FROM THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations)




                                                                                                             date
07/03/2019


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    date     07/03/2019



 United States Bankruptcy Court - Central District of California
 Edward R. Roybal Federal Building and Courthouse
 255 E. Temple Street, Suite 1382
 Los Angeles, CA 90012




                                                                                   date




07/03/2019     Claudia L. Bautista                                      /s/ Claudia L. Bautista
 Date                     Printed Name                                   Signature




June 2012
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